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                   EXHIBIT C
         Case 1:23-cr-00100-DAE Document 54-4 Filed 01/31/24 Page 2 of 4




From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Sent: Monday, January 29, 2024 3:51 PM
To: egm@egmlaw.com
Cc: Latcovich, Simon <SLatcovich@wc.com>; Looby, Patrick <PLooby@wc.com>
Subject: Production 5 in A-23-CR-100-DAE

Gerry, your USB drive, containing the discovery described in the attached letter, is ready for
pickup at our front desk. Or I can drop it at your office in the morning if you prefer.

If you want to leave the drive with us for a day or two, to see whether we can add the bank
records before you pick it up, feel free. But I’m far from certain that all of the bank records will
fit on that size drive.

Thanks

Alan M. Buie
512.417.2901
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                                                        United States Department of Justice
                                                        United States Attorney’s Office
                                                        Western District of Texas

ALAN M. BUIE                                 903 San Jacinto Blvd., Suite 334   Phone: (512) 370-1242
ASSISTANT UNITED STATES ATTORNEY             Austin, Texas 78701                alan.buie@usdoj.gov




                                         January 29, 2024

 Gerry Morris, Esquire
 The Law Office of E.G. Morris
 505 West 12th Street, Suite 206
 Austin, Texas 78701

        Re:     Discovery Production 5 in United States v. Natin Paul, No. A-23-CR-100-DAE

Dear Mr. Morris:

        Our staff have loaded onto your device the following additional discovery:

    1. FBI email messages dated 2014 through June 8, 2023. I reviewed a large collection of
       email messages from FBI, and I have attempted to provide you with copies of any
       messages that contain commentary on the facts or evidence. Text redacted from the
       messages is chiefly (a) related only to the Public Integrity Section investigation; or
       (b) work product of the government’s attorneys.

    2. Files from the Texas State Securities Board (“TSSB”). One of our investigators was
       employed by TSSB and had a small file at his TSSB office, separate from the FBI file.

    3. Investor questionnaire responses. In 2020, FBI sent a questionnaire to a list of known
       World Class investors, and a folder is included here for each one that responded. Some did
       not complete the questionnaire and only sent records or email messages.

    4. AUSA interview binders (two folders). One folder contains documents that I collected for
       interviews related to World Class Holding Company, LLC’s Series A Preferred offering,
       which is not the subject of any of the pending charges. The other folder contains
       documents I collected that are pertinent to limited partnership investments.

    5. Grand Jury presentations (two folders). These folders include transcripts, exhibits, and
       slide decks from the presentation of the indictment and the superseding indictment.

    6. Arrest audio and video. The FBI Special Agents who arrested the defendant on June 8,
       2023 wore audio and/or video recording equipment.

    7. Harwood interview. This is the most recent interview of accountant Elizabeth Harwood.

    8. FBI EC and Interview Notes. This folder collects agent interview notes that may not have
       been included in earlier discovery.
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      9. Materials from FBI Forensic Accountants (two folders). The Access database of bank
         records is in the Susan Ball folder.

        If you have any questions, please call me at 512.417.2901. If you or your co-counsel
would like a more thorough description of the materials listed above, I suggest we schedule a time
to look at the material together and discuss it, either in person or via WebEx.

                                                    Sincerely,




                                                    Alan M. Buie
                                                    Assistant United States Attorney

cc:      Simon Latcovich, Esquire (slatcovich@wc.com)
         Patrick Looby, Esquire (plooby@wc.com)
